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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

DORIS ADOLPH,                                       )
                                                    )
      Plaintiff,                                    )
                                                    )
v.                                                  ) Case No. 4:24CV649 HEA
                                                    )
WAL-MART STORES EAST LP, et al.,                    )
                                                    )
      Defendants.                                   )

                   OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Plaintiff’s Motion to Compel and Request

for Sanctions, [Doc. No. 18]. Defendant opposes the Motion. For the reasons set

forth below, the Motion is denied.

       Plaintiff ‘s Amended Complaint alleges she was a customer at the Wal-Mart

store in Farmington, Missouri on February 5, 2024. Plaintiff alleges she was struck

by an automatic door which caused her to fall and break her hip.

      On February 28, 2024, Plaintiff’s counsel sent a letter of representation to

Wal-Mart directing Wal-Mart to “preserve all materials that may be relevant to the

subject matter in any way.” The letter of representation told Wal-Mart that

the materials sought to be preserved included any video or other imaging depicting

Ms. Adolph’s fall, and any incident reports prepared related to Ms. Adolph’s fall.”


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Wal-Mart acknowledged this correspondence twenty-five days after Ms. Adolph’s

fall, on March 1, 2024.

       Wal-Mart’s advised Plaintiff it had taken, and would continue to take,

reasonable and good faith steps to preserve the evidence relevant to the incident

and proportional to the needs of this matter. These steps included: preserving video

of the incident area from one hour before to one hour after the incident if the

incident was captured on video.

       Wal-Mart advised Plaintiff on April 4, 2024, that it did not have any video

cameras that depicted the door that caused Plaintiff to fall. Plaintiff’s attorney

drove to the store and found four cameras in the immediate area where Plaintiff

allegedly fell.

       After filing this action, Plaintiff sent Interrogatories. Plaintiff claims

Defendant’s responses indicated it did not have any videos of Plaintiff other than

what was previously produced.

       Plaintiff obtained more than 50 reports from the Farmington Police

Department containing photos depicting the exit door that allegedly caused

Plaintiff’s fall. These reports date back as far as 2020.

                            Motion to Compel Standards

       Trial courts have broad discretion in settling discovery disputes. Thurman v.

Am. Honda Motor Co., No. 22-CV-04007-WJE, 2023 WL 3692840, at *1–4 (W.D.

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Mo. May 29, 2023); Miller v. Buckner, No. 6:21-cv-03081-MDH, 2022 WL

17585277, at *1 (W.D. Mo. Dec. 12, 2022) (citing Hofer v. Mack Trucks, Inc., 981

F.2d 377, 381 (8th Cir. 1992)). Federal Rule of Civil Procedure 26(b)(1) governs

the scope of discovery, providing:

      Parties may obtain discovery regarding any nonprivileged matter that is
      relevant to any party's claim or defense and proportional to the needs of the
      case, considering the importance of the issues at stake in the action, the
      amount in controversy, the parties’ relative access to relevant information,
      the parties’ resources, the importance of the discovery in resolving the
      issues, and whether the burden or expense of the proposed discovery
      outweighs its likely benefit. Information within this scope of discovery need
      not be admissible in evidence to be discoverable.

      Federal Rule of Civil Procedure 37 provides for various motions to compel

discovery, depending on the alleged failure of the other party. Applicable here,

Rule 37(a)(3)(B) provides that a party seeking discovery may move for an order to

compel answers or production against another party when the other party does not

adequately answer interrogatories under Rule 33 or produce documents under Rule

34. The purpose of Rule 37 is to provide the mechanism by which Rules 26, 33,

and 34 can be made effective. However, Rule 37 is not a blanket enforcement

mechanism. Equal Emp. Opportunity Comm'n v. Brinker Int'l Payroll Co., L.P.,

No. 4:22-CV-00820-KGB, 2024 WL 4763195, at *3 (E.D. Ark. Nov. 12, 2024).

      Defendant has stated that it does not have any video of Plaintiff’s fall. The

mere fact Plaintiff does not believe this does not require Defendant to produce

something that does not exist. Plaintiff has presented speculation on what
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Defendant has done, but she has produced nothing to establish Defendant has

willfully destroyed or secreted away video of the fall. Nothing Plaintiff presents

clearly demonstrates any wrongful behavior on the part of Defendant.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiff’s Motion to Compel and for

Sanctions, [Doc. No. 18], is DENIED.

      IT IS FURTHER ORDERED that Defendant’s request for fees in

responding to this motion is DENIED.

      Dated this 16th day of December, 2024.




                                ________________________________
                                  HENRY EDWARD AUTREY
                                UNITED STATES DISTRICT JUDGE




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